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IN THE UNITED sTATEs DISTRICT coUR-r FlI.E-. §§ _
FoR THE wEs'rERN DISTRICT oF TENNESSEE
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ROBtHlHS §§ 10
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wD. 01= T`N MI-;sviPHls
UNITED STATES OF AMERICA,

)
)
)
Plaintiff, }
)
VS. ) CR. NO. 04-20403-Ol-B
)
Ron Reed, )
)
Defendant. )

 

ORDER ON CHANGE OF PLEA
MMJSETTING

 

This cause Came to be heard on April 19, 2005, the United States Attorney
for this district, Greg Gilluly, appearing for the Government and the defendant,
Ron Reed, appearing in person and with counsel, Mary Kay Jermann, who represented
the defendant.

With, leave of the Court, the defendant withdrew' the not guilty' plea
heretofore entered and entered a plea of guilty to Count 1 of the Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for WEDNESDAY, AUGUST 3, 2005, at
9:00 A.M., in Courtroom No. 1, on the 11th floor before Judge J. Daniel Breen.

Defendant is allowed to remain released on present bond.

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ENTERED this the 10 day of April, 2005.

 

J. DANIEL\BREEN
ITE sTATEs DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:04-CR-20403 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

